
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, without costs.
In granting the motion to dismiss on the ground of forum non conveniens, the Appellate Division did not abuse its discretion as a matter of law or in exercising that discretion fail to take into account all of the various factors entitled to consideration (Irrigation &amp; Ind. Dev. Corp. v Indag, S.A., 37 NY2d 522, 525).
Chief Judge Cooke and Judges Jasen, Jones, Wachtler, Meyer and Simons concur.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [g]), order affirmed, without costs, in a memorandum.
